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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

F l L r-;
EASTERN DIVISION D By
___________-__
JUL 1 2 2005
REGINALD MICHAEL GRAY, ) Thornas M. eou¢d, gm
) w.Ut'J.Sor-‘ TN, J,ck,o,,
Plaintiff, )
)
VS. ) No. 03-]24l-T-An
)
RICK STAPLES, et al., )
)
Defendant. )

 

ORDER GRANTING MOTION TO DISMISS FOR INSUFFICIENCY
OF SERVICE OF PROCESS AND FOR FAILURE TO PROSECUTE

 

Plaintiff filed a complaint pursuant to 42 U.S.C. § 1983. An order Was entered
dismissing Jerry Gist and Rick Staples as defendants and ordering service of process for
Defendant Peaches Brown on April 2, 2004. On May 10, 2005, the court entered an order
requiring Plaintiff to show cause Within twenty days why the action against Defendant
Brown should not be dismissed for failure to prosecute Plaintiff was cautioned that failure
to respond Would result in the dismissal of the action. §ee Fed. R. Civ. P. 41 (b). Plaintiff
has not responded to that order.

On May 12, 2005, Defendant Brown l filed a motion to dismiss for insufficiency of

service of process and for failure to prosecute Attached to the motion is Defendant’s

 

l ln the affidavit attached to her motion, Defendant states that her name is Peaches Nesbitt. In the interest of
continuity and because this order Will terminate the action, the court will refer to the defendant as Defendant Brown.

This document entered on the docket sheet In compliance 7 ` `
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affidavit which states that she has not been served with process. Furtherrnore, the record
does not reflect that service of process was executed Plaintiff has not responded to
Defendant’s motion.

Because Plaintiff has failed to prosecute this action, including failing to serve
Defendant with process, Defendant’s motion to dismiss is GRANTED. The clerk is directed
to enter judgment accordingly

IT IS SO ORDERED.

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S D. TODD
UN ED STATES DISTRICT IUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:03-CV-01241 was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

